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                         UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF FLORIDA
                              PENSACOLA DIVISION

UNITED STATES OF AMERICA

       VS                                                               CASE NO. 3:02cr95 LAC

CHRISTOPHER JOHNSON

                                  REFERRAL AND ORDER

Referred to Judge Lacey Collier on MARCH 27, 2008
Motion/Pleadings: MOTION FOR REDUCTION OF SENTENCE PURSUANT TO TITLE 18
U.S.C. § 3582©)(2)
Filed by DEFENDANT PRO SE           on 3/26/08     Doc.# 213

RESPONSES:
                                               on                      Doc.#
                                               on                      Doc.#
        Stipulated             Joint Pldg.
        Unopposed              Consented
                                               WILLIAM M. McCOOL, CLERK OF COURT

                                               s/Mary Maloy
LC (1 OR 2)                                    Deputy Clerk: Mary Maloy

                                             ORDER
Upon   consideration      of   the   foregoing,       it   is    ORDERED    this   27 th   day   of
May, 2008, that:
(a) The relief requested is DENIED.
(b) At sentencing, the defendant was held responsible for 11 kilograms of cocaine
base. Pursuant to the guideline amendments, a defendant who is held responsible
for over 4.5 kilos of cocaine base does not receive relief from Amendment 706 and
711. In addition, defendant was and would still today be facing a mandatory life
sentence.   Defendant was sentenced to 240 months, a sentence well below the
mandatory life sentence, as a result of a 5K1.1 motion filed by the Government.
Based upon the facts and circumstances of this case, 240 months is still the
appropriate sentence.


                                                                s /L.A. Collier
Entered On Docket:                    By:                     LACEY A. COLLIER
Rules 58 & 79(a) FRCP or 32(d)(1) & 55 FRCRP        Senior United States District Judge
Copies sent to:




                               Document No.
